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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                               Miami Division

    UNITED STATES OF AMERICA                                          AMENDED JUDGMENT IN A CRIMINAL CASE

                             v.                                       Case Number: 17-60100-CR-SCOLA

           DOMINIC RIGANOTTI                                          USM Number: 15519-104

                                                                      Counsel For Defendant: Howard J. Schumacher, Esquire
                                                                      Counsel For The United States: AUSA Amanda Perwin
                                                                      Court Reporter: Tammy Nestor



Date of Original Judgment: 04/30/2018 (ECF No. 48).
(or Date of Last Amended Judgment)

AMENDMENT REASON: Government’s Motion for Reduction of Sentence Pursuant to Rule 35(b) is granted.
The term of imprisonment is reduced from 48 months to 28 months, see page 2.

The defendant pleaded guilty to counts 1 and 2 of the superseding information.
The defendant is adjudicated guilty of these offenses:
                                                                                                     OFFENSE
 TITLE & SECTION                         NATURE OF OFFENSE                                                              COUNT
                                                                                                     ENDED
 18 U.S.C. § 371                         Conspiracy to defraud the United States and to receive      August 2016        1
                                         health care kickbacks.
 21 U.S.C. § 841(a)(1)                   Dispensing a detectable amount of oxycodone.                11/15/2016         2
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
of material changes in economic circumstances.


                                                                    ____________________________________
                                                                    ROBERT N. SCOLA, Jr.
                                                                    United States District Judge


                                                                    Date: 09/25/2019
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DEFENDANT: DOMINIC RIGANOTTI
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                                                            IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 28 months. The term consists of 28 months as to each of Counts 1 and 2, to run concurrently.

The court makes the following recommendations to the Bureau of Prisons: (a) the defendant be allowed to
participate in the 500-hour Residential Drug Abuse Program (RDAP), and (b) the defendant be designated to a
facility in the South Florida area.

The defendant is presently in the custody of the U.S. Bureau of Prisons.


                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                                 ___________________________________________
                                                                 UNITED STATES MARSHAL


                                                                 ___________________________________________
                                                                 DEPUTY UNITED STATES MARSHAL
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DEFENDANT: DOMINIC RIGANOTTI
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                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three years. This term consists
of three years as to each of Counts 1 and 2, to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
    1. The defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
       days of each month;
    3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4. The defendant shall support his or her dependents and meet other family responsibilities;
    5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
       other acceptable reasons;
    6. The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
       of a felony, unless granted permission to do so by the probation officer;
    10.The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
       of any contraband observed in plain view of the probation officer;
    11.The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
    12.The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
    13.As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: DOMINIC RIGANOTTI
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                                              SPECIAL CONDITIONS OF SUPERVISION

Financial Disclosure Requirement - The defendant shall provide complete access to financial information, including
disclosure of all business and personal finances, to the U.S. Probation Officer.

Health Care Business Restriction - The defendant shall not own, directly or indirectly, or be employed, directly or
indirectly, in any health care business or service, which submits claims to any private or government insurance
company, without the Court’s approval.

Relinquishment of Licensure - Upon regulatory agency, the defendant shall relinquish his/her license to said
agency. The defendant is on notice that such relinquishment is permanent and will be considered disciplinary action.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering
into any self-employment.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines, or
special assessments, the defendant shall notify the probation officer of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay.
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DEFENDANT: DOMINIC RIGANOTTI
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                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                   Assessment           Fine               Restitution
            TOTALS                                  $200.00             $0.00             $1,444,373.62

The defendant must make restitution (including community restitution) to the attached list of payees in the amount
listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
3664(i), all nonfederal victims must be paid before the United States is paid.
                                                                TOTAL     RESTITUTION           PRIORITY OR
 NAME OF PAYEE
                                                                LOSS*     ORDERED               PERCENTAGE
 Clerk, U.S. Courts                                                       $1,444,373.62

Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution jointly and severally
with co-conspirators Jacquelin Fernandez, Docket No. 17-60031-CR-BLOOM, and Michael Bobrick, Docket No.
17-20809-CR-GAYLES, in the amount of $1,444,373.62. During the period of incarceration, payment shall be
made as follows: (1) if the defendant earns wages in a Federal Prison Industries (UNICOR) job, then the defendant
must pay 50% of wages earned toward the financial obligations imposed by this Judgment in a Criminal Case; (2)
if the defendant does not work in a UNICOR job, then the defendant must pay a minimum of $25.00 per quarter
toward the financial obligations imposed in this order. Upon release of incarceration, the defendant shall pay
restitution at the rate of 10% of monthly gross earnings, until such time as the court may alter that payment schedule
in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S. Attorney’s Office shall
monitor the payment of restitution and report to the court any material change in the defendant’s ability to pay.
These payments do not preclude the government from using other assets or income of the defendant to satisfy the
restitution obligations.
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: DOMINIC RIGANOTTI
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                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. Lump sum payment of $200.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
U.S. Attorney's Office are responsible for the enforcement of this order.
Joint and Several Restitution
Defendant and Co-Conspirators Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.
 CASE NUMBER
                                                                                          JOINT AND SEVERAL
 DEFENDANT AND CO-CONSPIRATORS NAMES                                      TOTAL AMOUNT
                                                                                          AMOUNT
 (INCLUDING DEFENDANT NUMBER)
 Dominic Riganotti – Case No. 17-60100-CR-SCOLA-1                                         $1,444,373.62
 Jacquelin Fernandez – Case No. 17-60031-CR-BLOOM-1                                       $1,444,373.62
 Michael Bobrick – Case No. 17-20809-CR-GAYLES-1                                          $1,444,373.62

The defendant shall forfeit the defendant’s interest in the following property to the United States: as described in
the Order of Forfeiture (ECF No. 44), which is incorporated by reference herein.

Restitution is owed jointly and severally by the defendant and co-conspirators in the above case.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
